                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA,
                  Plaintiff,                                      No. 13-CR-2013-LRR
 vs.                                                                      ORDER
 FROLLY MAURICE BALL,
                  Defendant.
                                      ____________________

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                                        I. INTRODUCTION
         The matter before the court is Defendant Frolly Maurice Ball’s “Motion to
Suppress” (“Motion”) (docket no. 55).
                                  II. PROCEDURAL HISTORY
         On June 26, 2013, a grand jury returned an Indictment (docket no. 4) charging
Defendant with conspiracy to distribute and to possess with intent to distribute at least one
kilogram or more of a mixture or substance containing a detectable amount of heroin, at


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least 500 grams or more of a mixture or substance containing a detectable amount of
cocaine and some quantity of a mixture or substance containing a detectable amount of
cocaine base in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B),
841(b)(1)(C) and 846. On November 13, 2013, Defendant appeared in court before Chief
Magistrate Judge Jon S. Scoles and entered a plea of not guilty. November 13, 2013
Minute Entry (docket no. 22). On April 21, 2014, Defendant filed the Motion. On May
1, 2014, the government filed a Resistance (docket no. 67). On June 2, 2014, the court
held a hearing at which it heard argument on the Motion. See June 2, 2014 Minute Entry
(docket no. 122). Special Assistant United States Attorney Lisa C. Williams represented
the government. Defendant appeared in person and was represented by his attorney,
Murray Bell. The matter is fully submitted and ready for decision.
                     III. RELEVANT FACTUAL BACKGROUND1
                                  A. Inventory Search
       On November 12, 2010, Illinois State Police Officer Chad Martinez was monitoring
westbound traffic on Interstate 80 near Morris, Illinois. Officer Martinez pulled behind
a silver 2007 Dodge Charger and, after checking the vehicle’s registration, learned that it
was registered to a female from Iowa. After the vehicle exited at exit 47, the Morris exit,
Officer Martinez initiated a traffic stop.2 Darrick Johnson was driving the vehicle and
Defendant was seated in the passenger seat. Officer Martinez discovered that Johnson had
a suspended driver’s license from Mississippi and that Defendant did not have a valid
driver’s license. Because neither Johnson nor Defendant had a valid driver’s license
necessary to operate the vehicle, Officer Martinez informed Defendant that he was going
to impound the vehicle, consistent with written Illinois State Patrol policy. Officer


      1
         When relevant, the court relies on and discusses additional facts in conjunction
with its analysis of the law.
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          Defendant does not argue that the stop of the vehicle was improper.

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Martinez opened the hood to inspect the engine compartment and noticed fresh fingerprints
on the top and the side of the air filter box. Officer Martinez opened the top portion of the
air filter box and discovered two large packages of what he suspected was cocaine.
       Officer Martinez placed Defendant under arrest and gave him Miranda warnings.
Defendant indicated that he wished to speak further about the narcotics found in the vehicle
and wanted to further the investigation in Iowa. Officer Martinez transported Defendant
to the Morris, Illinois police department where Special Agent Jorge Fonseca and Sergeant
Rivera interviewed Defendant. Defendant made incriminating statements during the
interview about his involvement in narcotics trafficking.
                            B. DEA Task Force Investigation
       In May of 2010, DEA Task Force Officer Bryan Furman began investigating a
heroin conspiracy that centered in Waterloo, Iowa and spanned Eastern Iowa. As a part
of this investigation, the Task Force identified Defendant as the source of supply of the
heroin in the Waterloo area. The Task Force obtained a Title III wiretap for Defendant’s
phone, which provided agents information about the calls made and received from the
phone, realtime access to the content of phone calls made from the phone and information
that allowed the Task Force to track the location of the phone.
       During the period immediately preceding the November 12, 2010 traffic stop at
issue, Officer Furman learned that Defendant was using Joshua Davis as a supplier of
drugs. Officer Furman learned that Defendant intended to purchase between one half and
one kilogram of narcotics from Davis in Chicago, Illinois. On November 11, 2010,
Officer Furman learned that Defendant successfully obtained narcotics in Chicago, and he
was monitoring Defendant’s location and phone calls by use of the wiretap as Defendant
traveled away from the Chicago area. Officer Furman recalled one conversation between
Defendant and Davis in which Defendant and Davis confirmed that they had met. At 5:11
p.m. on November 12, 2010, Furman intercepted a call between Defendant and Trinette


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Boldon in which Defendant stated that he was “going through a little trouble with the
cops” and that he had “to get the car situated” because it was “getting towed.”
Government Exhibit 4 (docket no. 123-3) at 1. Upon hearing this call, Officer Furman
called the Morris Police Department and learned that Defendant was detained and talking
to officers at the police department. Officer Furman testified that had the Illinois State
Police not discovered narcotics in the vehicle, based on the overwhelming amount of
evidence that he had that narcotics were in the vehicle, Officer Furman would have taken
steps to retrieve the narcotics from the vehicle.
                                       IV. ANALYSIS
       In the Motion, Defendant argues that “[t]he search of the stopped vehicle, in
particular the search of the engine compartment and the closed air filter box, exceeded the
allowable scope for inventory searches” and that his “statement[s] to [l]aw [e]nforcement
officers [were] the direct result of the illegal search . . . and [are] therefore ‘fruits of the
poisonous’ tree,” and should be suppressed. Motion at 2.
                          A. Search of the Engine Compartment
       “‘The Fourth Amendment proscribes all unreasonable searches and seizures, and
it is a cardinal principle that ‘searches conducted outside the judicial process, without prior
approval by judge or magistrate, are per se unreasonable under the Fourth
Amendment—subject only to a few specifically established and well-delineated
exceptions.’” United States v. Taylor, 636 F.3d 461, 464 (8th Cir. 2011) (quoting Mincey
v. Arizona, 437 U.S. 385, 390 (1978)) (internal quotation marks omitted).
       1.     Inventory exception
       One recognized exception to the general rule above “allows law enforcement to
inventory the contents of a lawfully impounded vehicle without a warrant or probable
cause.” Id. This exception is justified because it provides for “the protection of the
owner’s property while it remains in police custody; the protection of the police against


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claims or disputes over lost or stolen property; and the protection of the police from
potential danger.” South Dakota v. Opperman, 428 U.S. 364, 369 (1976) (citations
omitted). However, “an inventory search must not be a ruse for a general rummaging
. . . to discover incriminating evidence.” Florida v. Wells, 495 U.S. 1, 4 (1990). A
search conducted pursuant to the inventory exception complies with the Fourth Amendment
even in the absence of a warrant or probable cause “so long as [it is] reasonable under the
totality of the circumstances.” United States v. Allen, 713 F.3d 382, 387 (8th Cir. 2013).
“‘The reasonableness requirement is met when an inventory search is conducted according
to standardized police procedures, which generally remove the inference that the police
have used inventory searches as a purposeful and general means of discovering evidence
of a crime.’” United States v. Smith, 715 F.3d 1110, 1117 (8th Cir. 2013) (quoting
Taylor, 636 F.3d at 464). Moreover, “[e]ven if police fail to adhere to standardized
procedures, the search is nevertheless reasonable provided it is not a pretext for an
investigatory search.” Taylor, 636 F.3d at 465. That is, if the government does not
conduct an inventory search according to standardized procedures, for the search to run
afoul of the inventory exception there must still be something more “to suggest that the
police were engaging in their criminal investigatory function, not their caretaking function,
in searching [a] defendant’s vehicle.” Id. The government has the burden to show “that
its conduct complied with the inventory search exception.” Id. at 464.
       Here, the Illinois State Police Tow Services Policy Manual requires the Illinois
Police Department to complete a tow report when an officer inventories the contents of a
vehicle. The Policy Manual states that the inventory “will be restricted to those areas
where an owner or operater would ordinarily place or store property or equipment in the
vehicle[], and would normally include . . . [t]runk and engine compartments.” Illinois
State Police Tow Services Policy Manual (docket no. 67-1) at 2. Officer Martinez testified
that he has performed more than a thousand such inventory searches and that he searches


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the engine compartment of the vehicle every time and the air filter box at least ninety
percent of the time.
      The court finds that the inventory search performed by Officer Martinez was
reasonable because it was “conducted according to standardized police procedures.”
Smith, 715 F.3d at 1117 (quoting Taylor, 636 F.3d at 464); see also United States v.
Pappas, 452 F.3d 767, 772 (8th Cir. 2006) (holding that the search of an engine
compartment falls within the inventory exception); United States v. Lewis, 3 F.3d 252, 254
(8th Cir. 1993) (same). The record clearly indicates that Officer Martinez complied with
the Illinois Police Department policy. Cf Taylor, 636 F.3d at 465-66 (holding that failing
to comply with the police department’s inventory policy combined with pretext rendered
the inventory search unconstitutional). The government presented ample evidence at the
June 2, 2014 hearing through Officer Martinez’s testimony that the air filter box in the
engine compartment often contains narcotics and currency, and that the policy of the
Illinois State Police Department was to search the engine compartment. By searching the
air filter box, the police are protected “against claims or disputes over lost or stolen
property . . . and . . . potential danger.” Opperman, 428 U.S. at 369. Moreover, neither
party presented any evidence that the inventory search was “a ruse for a general
rummaging . . . to discover incriminating evidence.” Wells, 495 U.S. at 4. Because the
search of the vehicle was a valid inventory search, the court shall deny the Motion.
      2.     Automobile exception
      Another exception to the general rule that warrantless searches are per se
unreasonable is the automobile exception. “[T]he ‘automobile exception’ permits the
warrantless search of a vehicle if the police ‘had probable cause to believe the vehicle
contained contraband or other evidence of a crime before the search began.’” United
States v. Vore, 743 F.3d 1175, 1179 (8th Cir. 2014) (quoting United States v. Wells, 347
F.3d 280, 287 (8th Cir. 2003)). “Probable cause exists when ‘there is a fair probability


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that contraband or evidence of a crime will be found in a particular place.’” United States
v. Palega, 556 F.3d 709, 714 (8th Cir. 2009) (quoting Illinois v. Gates, 462 U.S. 213, 238
(1983)). “A totality of the circumstances test is used to determine whether probable cause
exists.” United States v. Gleich, 397 F.3d 608, 612 (8th Cir. 2005).
       While the court has already decided that the search of the air filter box did not
violate the Fourth Amendment because it was a valid inventory search, the court
alternatively concludes that the search was reasonable pursuant to the automobile
exception. Officer Martinez testified that: (1) the corridor he was patrolling is often used
to transport drugs out of Chicago; (2) the 2007 Dodge Charger contained numerous air
fresheners, cell phones and fast food wrappers, which he testified, based on his training
and experience, is consistent with drug trafficking; (3) Defendant and Johnson gave
conflicting stories as to how long they were in Chicago; (4) Johnson appeared overly
nervous and was repeating questions asked of him; and (5) Officer Martinez discovered
fresh fingerprints on the air filter box, a place where he has found narcotics and currency
in past cases. The totality of these circumstances provided Officer Martinez with probable
cause to believe that contraband would be found in the air filter box. Accordingly, the
court shall deny the Motion to the extent it seeks to suppress evidence obtained through
an illegal search of the air filter box.
       3.     Inevitable discovery
       Even when the government illegally obtains evidence, such evidence may still be
admissible pursuant to the inevitable discovery doctrine. “If the government ‘can establish
by a preponderance of the evidence that the information ultimately or inevitably would
have been discovered by lawful means . . . [then] the evidence should be received.’”
United States v. Allen, 713 F.3d 382, 387 (8th Cir. 2013) (alteration in original) (quoting
Nix v. Williams, 467 U.S. 431, 444 (1984)). Under prevailing Eighth Circuit law, to
establish that the evidence would inevitably have been discovered “the government must


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show (1) a reasonable probability that the evidence would have been discovered by lawful
means in the absence of police misconduct, and (2) an active pursuit of a substantial,
alternative line of investigation at the time of the constitutional violation.” Id. But see
United States v. Thomas, 524 F.3d 855, 860-63 (8th Cir. 2008) (Colloton, J., concurring)
(arguing that the Eighth Circuit’s approach incorrectly interprets Supreme Court precedent
and is both overinclusive and underinclusive).
       While the court has already concluded that the search of the air filter box was
reasonable under both the inventory exception and the automobile exception, the court also
finds that even if the search was illegal, evidence obtained from the search is still
admissible pursuant to the inevitable discovery doctrine. The government presented
evidence through the testimony of Officer Furman that the DEA Task Force had been
investigating Defendant since May 2010 and was aware—in realtime—of Defendant’s
whereabouts and that he was likely transporting drugs from Chicago back to Iowa.
Moreover, Officer Furman testified that had Illinois Police not searched inside the air filter
box and discovered narcotics, based on the wiretap and the Task Force’s investigation into
the conspiracy, the Task Force would have sought to take possession of the narcotics from
the vehicle once it discovered that the vehicle had been impounded. Accordingly, the
government has shown “a reasonable probability that the [drugs] would have been
discovered” through the Task Force’s investigation and that it was actively pursuing this
investigation at the time of the search. Allen, 713 F.3d at 387. Therefore, even if the
search was illegal, because the government would have inevitably discovered the drugs,
the court shall deny the Motion.
                                B. Defendant’s Statements
       Defendant argues that officers’ subsequent questioning of Defendant “was
contaminated by the prior illegal search of the closed air filter box.” Brief in Support of
the Motion (docket no. 55-1) at 5. Because the search of the air filter box was not illegal,


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Defendant’s statements were not fruit of the poisonous tree. However, even if the search
of the air filter box was illegal, the court finds that the search was sufficiently attenuated
from Defendant’s statements such that suppression of the statements is not appropriate.
       “‘[T]he exclusionary rule reaches not only primary evidence obtained as a direct
result of an illegal search or seizure, but also evidence later discovered and found to be
derivative of an illegality or fruit of the poisonous tree.’” United States v. Hastings, 685
F.3d 724, 728 (8th Cir. 2012) (alteration in original) (quoting United States v. Riesselman,
646 F.3d 1072, 1078 (8th Cir. 2011)). “[T]he indirect fruits of an illegal search or arrest
should be suppressed when they bear a sufficiently close relationship to the underlying
illegality.” New York v. Harris, 495 U.S. 14, 19 (1990). When admissions are “induced
by [the defendant] being confronted with . . . illegally seized evidence,” the admission or
confession must be suppressed. Fahy v.Connecticut, 375 U.S. 85, 91 (1963); see also
United States v. Timmann, 741 F.3d 1170, 1182 (11th Cir. 2013) (“Under the so-called
‘fruit of the poisonous tree’ doctrine, admissions or confessions that the police induce by
confronting a suspect with evidence obtained through an illegal search or seizure must be
suppressed.”).
       However, evidence should not be suppressed when “the unlawful conduct has
become so attenuated or has been interrupted by some intervening circumstance so as to
remove the ‘taint’ imposed upon that evidence by the original illegality.” United States
v. Crews, 445 U.S. 463, 471 (1980). “Evidence showing statements after an illegal search
were voluntary is a means of demonstrating the evidence is attenuated from the taint.”
Riesselman, 646 F.3d at 1080. In deciding whether statements are voluntary and purge
the taint, courts “consider the giving of Miranda warnings, the ‘temporal proximity’ of the
illegal search and the statements made, the ‘presence of intervening circumstances,’ and
‘the purpose and flagrancy of the official misconduct.’” Id. (quoting United States v.
Lakoskey, 462 F.3d 965, 675 (8th Cir. 2006)). “The purpose and flagrancy of the official


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misconduct is considered the most important factor because it is directly tied to the purpose
of the exclusionary rule—deterring police misconduct.” United States v. Simpson, 439
F.3d 490, 496 (8th Cir. 2006).
              Courts have found purposeful and flagrant conduct where: (1)
              the impropriety of the official’s misconduct was obvious or the
              official knew, at the time, that his conduct was likely
              unconstitutional but engaged in it nevertheless; and (2) the
              misconduct was investigatory in design and purpose and
              executed “in the hope that something might turn up.”
Id. (quoting Brown v. Illinois, 422 U.S. 590, 605 (1975)).
       Here, Officer Martinez gave Defendant Miranda warnings while he had Defendant
pulled over and before he transported Defendant back to the police station, which suggests
that Defendant’s statements were voluntary.3        As to the temporal proximity of the
statements, Officer Martinez searched the engine compartment at some time shortly after
3:18 p.m. and gave Defendant Miranda warnings at 3:36 p.m.                 Defendant made
incriminating statements sometime after 5:00 p.m. This lapse of approximately ninety
minutes is not so close in time as to render Defendant’s statements involuntary. See United
States v. Herrera-Gonzalez, 474 F.3d 1105, 1112 (8th Cir. 2007) (“While 10 minutes does
not in itself suggest sufficient attenuation to purge the taint of the stop, neither does it
compel the conclusion that the attenuation was insufficient. Indeed, this court has found
consent given a short time after the stop sufficient to purge the taint if other circumstances
indicate the consent was sufficiently an act of free will.”); United States v. Becker, 333
F.3d 858, 862-63 (8th Cir. 2003) (holding that a forty-nine minute lapse of time was not
so short as to render the defendant’s statements involuntary). As to the presence of
intervening circumstances, the fact that Defendant was interviewed at a different location
than the search and was interviewed by different officers than the one who searched is


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        It is unclear whether the officers at the police station who interviewed Defendant
provided additional Miranda warnings prior to the interview.

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considered an intervening circumstance which lessens the taint. See United States v. Vega-
Rico, 417 F.3d 976, 980 (8th Cir. 2005) (stating that statements made to different agents
at a different location weigh in favor of attenuation); United States v. Hernandez-
Hernandez, 384 F.3d 562, 565 (8th Cir. 2004) (same). Finally, as to the purpose and
flagrancy of the misconduct, Officer Martinez followed the procedures put forth by the
Illinois State Police Department to the letter. The court heard no evidence that Officer
Martinez acted in bad faith or used the inventory search as a way to intentionally violate
Defendant’s constitutional rights. Accordingly, even if the search of the air filter box was
illegal, the taint of the illegality is sufficiently attenuated to the extent that Defendant’s
later, Mirandized statements were voluntary. The court shall deny the Motion to the extent
it seeks to suppress Defendant’s statements.
                                   V. CONCLUSION
       In light of the foregoing, Defendant Frolly Maurice Ball’s “Motion to Suppress”
(docket no. 55) is DENIED.
       IT IS SO ORDERED.
       DATED this 24th day of June, 2014.




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